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13                                 UNITED STATES DISTRICT COURT

14                               NORTHERN DISTRICT OF CALIFORNIA

15                                       SAN FRANCISCO DIVISION

16
17                                                    Case No. 3:07-cv-5944-SC
   In re: CATHODE RAY TUBE (CRT)
18 ANTITRUST LITIGATION                               MDL No. 1917

19                                                    [PROPOSED] ORDER DENYING
                                                      PLAINTIFF’S ADMINISTRATIVE
20                                                    MOTION FOR ORDER ISSUING
     This Document Relates to:                        REVISED LETTERS OF REQUEST
21                                                    FOR TAKING OF EVIDENCE FROM
     ALL ACTIONS                                      WOONG TAE (W.T.) KIM AND
22                                                    MYUNG JOON (M.J.) KIM OF THE
                                                      REPUBLIC OF KOREA
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     Case No. 07-5944-SC; MDL No. 1917                    [PROPOSED] ORDER DENYING PL.’S MOT.
                                                              FOR REVISED LETTERS OF REQUEST
      Case 4:07-cv-05944-JST Document 2827-4 Filed 09/09/14 Page 2 of 2




 1          Plaintiff the State of California (“Plaintiff”) filed an Administrative Motion for
 2 Order Issuing Revised Letters of Request for Taking of Evidence from Woong Tae (W.T.)
 3 Kim and Myung Joon (M.J.) Kim of the Republic of Korea (Dkt. No. 2794) (“Motion”).
 4 After full consideration of the points and authorities submitted by the parties, and the Court’s file
 5 in this matter, and good cause appearing therefor, IT IS HEREBY ORDERED that Plaintiff’s
 6 Motion is DENIED.
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 8 IT IS SO ORDERED.
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10 Dated: ______________                          ____________________________________
11                                                      HONORABLE SAMUEL CONTI
                                                       UNITED STATES DISTRICT JUDGE
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     Case No. 07-5944-SC; MDL No. 1917                          [PROPOSED] ORDER DENYING PL.’S MOT.
                                                                    FOR REVISED LETTERS OF REQUEST
